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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                            CASE NO.:

  SECURITIES AND EXCHANGE COMMISSION,                         )
                                                              )
                                Plaintiff,                    )
                                                              )
  v.                                                          )
                                                              )
  LYNETTE M. ROBBINS and                                      )
  KNOWLES SYSTEMS, INC.,                                      )
                                                              )
                                                              )
                                 Defendants.                  )
  ____________________________________________________________)

                   COMPLAINT FOR INJUNCTIVE AND OTHER RELIEF

         Plaintiff Securities and Exchange Commission (“Commission”) alleges:


                                        INTRODUCTION

         1.     From at least March 2014 through December 2017, the Defendants in this action

  served as unregistered brokers on behalf of Woodbridge Group of Companies LLC and its

  affiliates (“Woodbridge”), raising approximately $147 million from the offer and sale of

  unregistered securities to more than 540 retail investors located throughout the United States.

  For their efforts, Defendant Lynette M. Robbins (“Robbins”), through Defendant, Knowles

  Systems, Inc. (“Knowles Systems”), received significant transaction-based sales commissions.

         2.     The Defendants utilized several marketing techniques, including hiring “media

  influencers” who advertised the Woodbridge securities to the general public via radio, television

  and internet-based programs, routinely touting Woodbridge’s securities as “safe and secure.”

         3.     Unbeknownst to the Defendants’ customers, many of whom had invested their

  retirement savings in response to Defendants’ marketing techniques, Woodbridge was actually
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  operating a massive Ponzi scheme, raising more than $1.2 billion before collapsing in December

  2017 and filing for bankruptcy. Once Woodbridge filed for bankruptcy, investors stopped

  receiving their monthly interest payments, and have not received a return of their investment

  principal.

         4.      At all relevant times, the Defendants held no securities licenses, were not

  registered with the Commission, and were not associated with registered broker-dealers, nor did

  they qualify for an exemption. The Defendants were thus not permitted to sell securities.

         5.      By engaging in this conduct the Defendants violated Sections 5(a) and 5(c) of the

  Securities Act of 1933 (“Securities Act”), [15 U.S.C. §§ 77e(a) and 77e(c)], and Section 15(a)(1)

  of the Securities Exchange Act of 1934 (“Exchange Act”), [15 U.S.C. § 78o(a)(1)]. Unless

  enjoined, the Defendants are reasonably likely to continue to violate the federal securities laws.

  The Commission also seeks against the Defendants disgorgement of ill-gotten gains along with

  prejudgment interest thereon, and civil money penalties.

                                            DEFENDANTS

         6.      Robbins, 72, is a resident of The Villages, Florida and the CEO of Knowles

  Systems. Robbins is not, and has never been, registered with the Commission, the Financial

  Industry Regulatory Authority (“FINRA”), or any state securities regulatory authority. From

  March 2014 to December 2017, Robbins personally solicited and sold unregistered Woodbridge

  securities to retail investors located throughout the United States.

         7.      Knowles Systems is a Delaware corporation owned and controlled by Robbins

  and her husband with its principal place of business in The Villages, Florida. Knowles Systems

  sold investment products, including Woodbridge’s securities, to retail investors.        Knowles

  Systems has never been registered with the Commission, FINRA or any state securities



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  regulatory authority. On April 20, 2018, Knowles Systems voluntarily filed for Chapter 11

  bankruptcy protection in the U.S. Bankruptcy Court for the Middle District of Florida, In Re

  Knowles Systems, Inc., 3:18-bk-1307-PMG (Bankr. M.D. Fla.), and on August 1, 2018, Knowles

  Systems moved to dismiss its Chapter 11 bankruptcy.

                                           JURISDICTION

         8.      This Court has jurisdiction over this action pursuant to Sections 20(b), 20(d) and

  22(a) of the Securities Act [15 U.S.C. §§ 77t(b), 77t(d) and 77v(a)]; and Sections 21(d), 21(e)

  and 27(a) of the Exchange Act [15 U.S.C. §§ 78u(d), 78u(e) and 78aa(a)].

         9.      This Court has personal jurisdiction over the Defendants and venue is proper in

  the Southern District of Florida because the Defendants sold millions of dollars of Woodbridge’s

  securities to investors who reside in the Southern District of Florida.

         10.     In connection with the conduct alleged in this Complaint, Defendants, directly

  and indirectly, singly or in concert with others, made use of the means or instrumentalities of

  interstate commerce, the means or instruments of transportation or communication in interstate

  commerce, and of the mails.

                                    FACTUAL ALLEGATIONS

         11.     Beginning in July 2012 through at least December 4, 2017, Robert H. Shapiro

  (“Shapiro”) and Woodbridge orchestrated a massive Ponzi scheme raising in excess of $1.22

  billion from the sale of securities to over 8,400 investors nationwide. At least 2,600 of these

  investors used their Individual Retirement Account funds to invest nearly $400 million.

         A. Woodbridge’s Securities and Representations to Investors

         12.     Woodbridge sold investors two primary types of securities:         (1) twelve-to-

  eighteen month term promissory notes bearing 5%-8% interest that Woodbridge described as



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  First Position Commercial Mortgages (“FPCM Note” and “FPCM Investors”), which were

  issued by one of Woodbridge’s several affiliated Fund Entities, and (2) seven different private

  placement fund offerings with five-year terms: (a) Woodbridge Mortgage Investment Fund 1,

  LLC; (b) Woodbridge Mortgage Investment Fund 2, LLC; (c) Woodbridge Mortgage Investment

  Fund 3, LLC; (d) Woodbridge Mortgage Investment Fund 3A, LLC; (e) Woodbridge Mortgage

  Investment Fund 4, LLC; (f) Woodbridge Commercial Bridge Loan Fund 1, LLC; and (g)

  Woodbridge Commercial Bridge Loan Fund 2, LLC; (collectively “Fund Offerings” and “Fund

  Investors”).

                  1. FPCM Notes

         13.      Woodbridge represented that the FPCM Note was a “simple, safer and more

  secured opportunity for individuals to achieve their financial objectives.” The purported revenue

  source enabling Woodbridge to make the payments to FPCM Investors was the interest

  Woodbridge would be receiving from mainly one-year loans to supposed third-party commercial

  property owners (“Third-Party Borrowers”). Woodbridge told investors that these Third-Party

  Borrowers were paying Woodbridge 11-15% annual interest for “hard money,” short-term

  financing.     Woodbridge would secure the debt through a mortgage on the Third-Party

  Borrowers’ real estate.      For example, Woodbridge wrote in marketing materials that

  “Woodbridge receives the mortgage payments directly from the borrower, and Woodbridge in

  turn delivers the loan payments to you under your [FPCM] documents.”

         14.      Woodbridge provided FPCM Investors three primary documents: (1) a

  promissory note payable by a Woodbridge entity; (2) a collateral assignment of note and

  mortgage, purportedly providing a security interest in Woodbridge’s right, title and interest in the

  loan for the property, the promissory note evidencing the pledged loan, and the mortgage or deed



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  of trust securing the loan with an interest in the property; and (3) an inter-creditor agreement,

  necessary because Woodbridge allowed multiple investors (generally unknown to each other) the

  opportunity to invest in notes secured by the same properties. Woodbridge promised FPCM

  Investors a pro-rata first position lien interest in the underlying property.

         15.     The FPCM Investors invested their funds with the expectation of earning the

  promised returns while maintaining a secured interest in a parcel of real estate.

         16.     The profitability of the FPCM investments was derived solely from the efforts of

  Shapiro and Woodbridge and the investments were in a common enterprise. Once investors

  provided their funds to Woodbridge, their funds were commingled with other investors’ funds

  and used by Woodbridge for general business purposes. Investors had no control over how

  Shapiro and Woodbridge used their money. Because Woodbridge was a Ponzi scheme, its

  ability to pay returns depended upon its continued ability to raise funds from new investors and

  convince existing investors to rollover their investments.              Information materials from

  Woodbridge informed investors that it conducted all due diligence including title search and

  appraisal on the commercial property and borrower. The investors played no role in selecting

  which properties would purportedly secure their investments.              Marketing materials from

  Woodbridge also reassured investors, telling them not to worry about borrowers failing to make

  their loan payments because Woodbridge would continue to pay investors their interest

  payments.

                 2. Fund Offerings

         17.     Woodbridge offered the Fund Offerings to investors through one of its affiliated

  Fund Entities, pursuant to purported exemptions from registration under Rules 506(b) and (c) of

  Regulation D of the Securities Act, collectively seeking to raise at least $435 million from



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  investors. In the Regulation D filings, Woodbridge described the Fund Offerings as “equity”

  securities.

          18.    Woodbridge, in an attempt to avoid registration of its securities with the

  Commission, purportedly limited each of the Fund Offerings to accredited investors with a

  $50,000 minimum subscription and provided for a five-year term with a 6% to 10% aggregate

  annual return paid monthly to Fund Investors and a 2% “accrued preferred dividend” to be paid

  at the end of the five-year term and a share of “profits.” Neither Woodbridge nor the Defendants

  ensured that only accredited investors purchased the Fund Offerings (or the FPCMs).

          19.    In the offering memoranda for the Fund Offerings, Woodbridge represented to

  Fund Investors that their funds would be used for real estate acquisitions and investments,

  notably including Woodbridge’s FPCMs. The Fund Offerings, in effect, were investments into

  pooled FPCMs. Many of these pools contained 40 or more investors.

          20.    Investors in the Fund Offerings invested in a common enterprise with the

  expectation of profit based on the efforts of others. The allegations of paragraphs 15 and 16 of

  this Complaint are applicable to the Fund Offerings as well.

          21.    The FPCM Notes and the Fund Offerings are securities within the meaning of

  Securities Act § 2(a)(1), 15 U.S.C. § 77b(a)(1), and Exchange Act § 3(a)(10), 15 U.S.C. §

  78c(a)(10).   Investors were unquestionably motivated by the high rate of returns that

  Woodbridge offered and investors viewed these as passive investments generating safe returns.

  Woodbridge sold the FPCM notes to a broad segment of the public (at least 8,400 investors)

  through general solicitations and there were no risk-reducing factors indicating the FPCM notes

  were not securities. Neither the FPCM Notes nor the Fund Offerings were registered with the

  Commission, and there was no applicable exemption from registration.



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         B. Woodbridge’s Misrepresentations

         22.     Woodbridge’s claim to be making high interest rate loans to “third party”

  borrowers was a lie. In reality, Woodbridge’s business model was a sham. Investors’ funds

  were used to purchase, in the name of a Shapiro controlled Limited Liability Company (LLC),

  almost 200 residential and commercial properties, primarily in Los Angeles, California and

  Aspen, Colorado.     Thus, nearly all the “third-party” borrowers were Shapiro owned and

  controlled LLCs, which had no source of income, no bank accounts, and never made any loan

  payments to Woodbridge, all facts Woodbridge and Shapiro concealed from investors.

         23.     Because Shapiro’s LLCs were not making any of the promised interest payments

  and Woodbridge’s other revenue was minimal, Woodbridge sought to convince FPCM Investors

  to rollover their investment into a new note at the end of the term, so as to avoid having to come

  up with the cash to repay the principal. For the payment of returns to FPCM and Fund Investors

  and redemptions to FPCM Investors who did not rollover their notes, Woodbridge raised and

  used new investor funds, in classic Ponzi scheme fashion.

         24.     Finally, on December 1, 2017, after amassing more than $1.22 billion of investor

  money, with more than $961 million in principal still due to investors, Woodbridge and Shapiro

  missed their first interest payments to investors after purportedly ceasing their fundraising

  activities. Without the infusion of new investor funds, just days later, on December 4, 2017,

  Shapiro caused most of his companies to be placed in Chapter 11 Bankruptcy.

         25.     In the Chapter 11 Bankruptcy, Woodbridge, now under the control of independent

  management, has taken the position that the FPCM Investors do not have a secured interest in the

  property underlying their investment because they were required to perfect their interest pursuant

  to the requirements of the Uniform Commercial Code, which virtually none of the investors did.



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         C.      Defendants Offered and Sold Woodbridge Securities

         26.     Woodbridge recruited a network of several hundred external, mostly unregistered,

  sales agents, including the Defendants.        Woodbridge provided the Defendants with the

  information and marketing materials that the Defendants gave to FPCM and Fund Investors.

         27.     Using the Woodbridge-provided materials, the Defendants solicited the general

  public by hiring several “media influencers” who advertised the Woodbridge securities to the

  general public via radio, television and internet-based programs. The Defendants also had in-

  person meetings with their customers and conversed with them via email and telephone.

         28.     Once in contact with a potential investor, the Defendants assured the safety and

  profitability of the Woodbridge investment. The Defendants touted the purported security of the

  properties the investments were tied to by virtue of their favorable loan-to-value ratios,

  Woodbridge’s long tenure and track record in the industry, the purported first-position lien the

  investors would have on the properties in the event of a default by the “third party” borrower,

  and assured investors that an investment in Woodbridge was a more profitable alternative than

  traditional investments such as certificates of deposits, and safer than the stock market.

         29.     If a customer decided to invest in the FPCM note program, the Defendants filled

  out a Woodbridge online form identifying their customer, the amount of investment (with the

  minimum being $25,000), and selecting the Woodbridge property that would purportedly

  collateralize the customer’s note. (The Defendants would often select the property without

  customer input, frequently just checking a box for their customer to receive the next available

  property without knowing anything about it).          Woodbridge’s processing department then

  generated a loan agreement and promissory note and sent the documents to the Defendants.

  Investors typically provided the Defendants the signed documents and the check for their



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  principal investment, and the Defendants returned the package to Woodbridge. The investor

  then received monthly interest payments directly from Woodbridge.

          30.     Woodbridge offered its FPCM notes to the Defendants at a 9% wholesale annual

  interest rate, who then would offer these notes to their investor clients at 5% to 8% annual

  interest rate—the difference representing the Defendants’ transaction-based commission.

          31.     For the Fund Offerings, the Defendants received a 5% sales commission that

  Woodbridge purposefully mischaracterized as a “marketing bonus” to avoid the appearance of

  paying transaction-based commissions.

          32.     The Defendants encouraged their customers to rollover their investments at their

  term expiration, either into another 12-18 month FPCM note, or into a five-year Fund Offering.

  Defendants received transaction-based commissions for rollovers, with a five-year Fund Offering

  rollover receiving a greater commission than a FPCM rollover.

          33.     During the time they sold Woodbridge securities, the Defendants were neither

  registered broker-dealers nor associated with registered broker-dealers.

                                       CLAIMS FOR RELIEF

                                              COUNT I

                       Violations of Sections 5(a) and 5(c) of the Securities Act

          34.     The Commission repeats and realleges paragraphs 1 through 33 of this Complaint

  as if fully set forth herein.

          35.     No registration statement was filed or in effect with the Commission pursuant to

  the Securities Act with respect to the securities offered and sold by the Defendants as described

  in this Complaint and no exemption from registration existed with respect to these securities.




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          36.     From as early as March 2014 and continuing through approximately December

  2017, the Defendants directly and indirectly:

                  (a)      made use of any means or instruments of transportation or communication
                           in interstate commerce or of the mails to sell securities, through the use or
                           medium of a prospectus or otherwise;

                  (b)      carried or caused to be carried securities through the mails or in interstate
                           commerce, by any means or instruments of transportation, for the purpose
                           of sale or delivery after sale; or

                  (c)      made use of any means or instruments of transportation or communication
                           in interstate commerce or of the mails to offer to sell or offer to buy
                           through the use or medium of any prospectus or otherwise any security;

  without a registration statement having been filed or being in effect with the Commission as to

  such securities.

          37.     By reason of the foregoing the Defendants violated and, unless enjoined, are

  reasonably likely to continue to violate Sections 5(a) and 5(c) of the Securities Act [15 U.S.C. §§

  77e(a) and 77e(c)].

                                                COUNT II

                          Violations of Section 15(a)(1) of the Exchange Act

          38.     The Commission repeats and realleges Paragraphs 1 through 33 of this Complaint

  as if fully set forth herein.

          39.     From as early as March 2014 and continuing through approximately December

  2017, the Defendants, directly or indirectly, by the use of the mails or the means or

  instrumentalities of interstate commerce, while acting as or associated with a broker or dealer,

  effected transactions in, or induced or attempted to induce the purchase or sale of securities,

  while they were not registered with the Commission as a broker or dealer or when they were not

  associated with an entity registered with the Commission as a broker-dealer.



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         40.     By reason of the foregoing, the Defendants, directly or indirectly, violated and,

  unless enjoined, are reasonably likely to continue to violate, Section 15(a)(1) of the Exchange

  Act [15 U.S.C. § 78o(a)(1)].

                                      RELIEF REQUESTED

         WHEREFORE, the Commission respectfully requests the Court find the Defendants

  committed the violations alleged, and:

                                              A.
                                   Permanent Injunctive Relief

         Issue a Permanent Injunction restraining and enjoining the Defendants from violating

  Sections 5(a) and 5(c) of the Securities Act and Section 15(a)(1) of the Exchange Act.

                                              B.
                             Disgorgement and Prejudgment Interest

         Issue an Order directing the Defendants to disgorge all ill-gotten gains or proceeds

  received as a result of the acts and/or courses of conduct complained of herein, with prejudgment

  interest thereon.

                                                C.
                                       Civil Money Penalties

         Issue an Order directing the Defendants to pay civil money penalties pursuant to Section

  20(d) of the Securities Act and Section 21(d) of the Exchange Act.

                                                D.
                                           Further Relief

         Grant such other and further relief as may be necessary and appropriate.




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                                                 E.
                                      Retention of Jurisdiction

          Further, the Commission respectfully requests that the Court retain jurisdiction over this

  action in order to implement and carry out the terms of all orders and decrees that it may enter, or

  to entertain any suitable application or motion by the Commission for additional relief within the

  jurisdiction of this Court.



  August 20, 2018                                      Respectfully submitted,

                                         By:           /s/ Russell Koonin & Christine Nestor
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